Case 2:90-cv-00520-KJM-SCR Document1759_ Filed 02/10/06 Page 1 of 7

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14
Attorneys for Plaintiffs
15
16 IN THE UNITED STATES DISTRICT COURT
17 EASTERN DISTRICT OF CALIFORNIA _
18
RALPH COLEMAN, Case No. Civ. S 90-0520 LKK-JEM
19
Plaintiff, ) STIPULATION AND [PROPOSED]
20 ) ORDER CONFIRMING UNDISPUTED
vs. ) ATTORNEYS’ FEES AND COSTS FOR
21 ) THE THIRD QUARTER OF 2005
ARNOLD SCHWARZENEGGER, et al.,
22
Defendants )
23 )
24
25 On March 19, 1996, the District Court established procedures by which plaintiffs are

26 || to collect periodic attorneys’ fees and costs in this case in connection with their work

27 || monitoring defendants’ compliance with the Court’s Orders and collecting fees.

28

489\S\pleading\ STIPULATION AND [PROPOSED] ORDER
CONFIRMING UNDISPUTED ATTORNEYS’ FEES AND
COSTS FOR THE THIRD QUARTER OF 2005

Case 2:90-cv-00520-KJM-SCR Document1759_ Filed 02/10/06 Page 2 of 7

1 Pursuant to these procedures, the parties have met and conferred concerning fees and
2 || costs incurred by plaintiffs’ attorneys during the Third Quarter of 2005. As a result of the

3 || meet and confer session concerning the Third Quarter Statement for 2005, the parties are

4 || able to agree to the payment of $341,446.40 in fees and costs incurred during the Third

5 |} Quarter of 2005. Attached hereto as Exhibit A are charts setting forth the fees and expenses
6 |/now due and owing on the Third Quarter of 2005. This agreement resolves all disputed

7 || fees and costs for the Third Quarter of 2005 except for $8,422.95 in fees and costs incurred
8 || by plaintiffs’ counsel in monitoring compliance and in investigating and challenging

9 || classification policies of the CDCR that interfere with access by members of the plaintiff
10 |) class to mental health care. The parties agree to defer any dispute over these fees and agree
11 |! that plaintiffs may seek compensation in the future once the status of these issues has been
12 || addressed more thoroughly in the case.

13 WHEREFORE, IT IS CONFIRMED that $341,446.40, plus interest is due and collectable
14 || as of 45 days from the date of entry of this order. Daily Interest runs from December 12, 2005 at
15 || the rate of 4.38%.

16 Amount Interest Rate Daily Interest Interest Began Accruing
17 $341,446.40 4,38% $40.97 December 12, 2005

18 |} (Interest accrues at the rate provided Oy 28 U.S.C. § 1961.)
19 || IT IS SO ORDERED.
20 |; Dated:

John F. Moulds, Magistrate Judge”
21 United States District Court

22 PEERED AS TO FORM:

aH Mir Ibizan Dare. a7 479%

24 isa Tillman, Esq.
Deputy Attorney General
25 || Attorney for Defendants

*° LW Kt DATED: a ~- lo- 06

27 || Thomas Nolan, Esq. ~~
Rosen, Bien & Asaro

28 Attorneys for Plaintiffs
H.\48913\Pleading\ -l- STIPULATION AND [PROPOSED] ORDER

stip-3rdqtr.2005.1-20-06 (undisputed fees) 489-5 CONFIRMING UNDISPUTED ATTORNEYS’ FEES AND
COSTS FOR THE THIRD QUARTER OF 2005

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Exhibit A
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Coleman v. Schwarzenegger
Second Quarterly Statement of 2005

April 1, 2005 through June 30, 2005

SUMMARY OF UNDISPUTED FEES AND COSTS

CLAIMED
FEES COSTS
MONITORING $ 309,513.29 $ 18,518.70
MONITORING FEES ONFEES $ 13,093.68 $ 320.73
CLASSIFICATION FEES $ . $e
TOTALS: —- $_: 322,606.97 Ss $_~—=«*18,839,43
TOTAL UNDISPUTED FEES AND COSTS $ 341,446.40
AMOUNT REMAINING IN DISPUTE $8,422.95

Total Undisputed Summary . : 1/20/2006
a

Matter: 489-3

-Attorney/Law Firm

ROSEN BIEN & ASARO
Michael W. Bien (MWB)

Jane E. Kahn (JEK) ,
Thomas Nolan (TN)

Katherine Sher (KS)

Martin D. White (MDW), Clerk
Kim Le (KTL)

Daniel M. Markman (DMM)
Salvador Arrona (SA)

_Palorna K, Wu (PKW)

Anna Oppenheim (AO)
Nathan J. Kleiner (NJK)

RBA Totals:

PRISON LAW OFFICE
Donald Specter (DS)

Steven Fama (SF)

Keith Wattley (KW)

- Della Burke (DB)

Noor Dawood (ND)

PLO Totals:

Employment Law Center

Claudia Center
Lewis Bossing

ELC Hours:

Total Monitoring - All Offices

3rd Qtr-Undisputed Total Fees.xls

| Coleman v._ Schwarzenegger Filed 02/10/06
ocumen |
Case 2:90-cv- -00520-K IM SCF at Fees - Third Quarterly Statement, 2005.

July 1, 2005 through September 30, 2005

-. Monitoring Work

70/30 = . 75/25=
Hours Objections Time 50/50 30% 25%
Claimed Originally Withdrawn . Withdrawn of Certain Withdrawn Withdrawn
Hours In Dispute By Defendant By Plaintiff Hours By Plaintiff By Plaintiff
110.90 3.70 1.30 0.00 0.00 0.00 2.40
329.30 25,95 4.20 | 11.10 3.30 0.00 7.35
320.40 49,80 18,90 13.50 6.40 0.00 11.00
78.90 59.20 8.30 1.50 14.50 8.50 26.40
5,80 2.50 0.00 0.50 2.00 0.00 0.00
81.50 20.20 3.70 0.00 * $.30 0.60 10.60
20.60 3.20 1.80 0.50 0.00 0.00 0.90
24,10 1.70 0.10 0:30 0.30 0.00. 1.00
420.80 68.80 10.10 3.30, 4.60 4.80 46.00
124.50 35.40 2.30 0.00 7.30 8.60. 17.20 .
394.00 54.60 9.30 2.90 4.60 6.30 31.50
1910.80 325.05 - 60.00 33.60. 48.30 - 28.80 154.35
70/30 = 75/25=
Hours Objections _ Time §0/50 Split 30% 25%
Claimed Originally Withdrawn Withdrawn of Certain Withdrawn Withdrawn
Hours In Dispute By Defendant By Plaintiff Hours By Plaintiff By Plaintiff
3.10 0.00 0.00 0.00 0.00 0.00: 0.00
4.70 0.00 0.00 0.00 0.00 0.00 0.00
67.60 0.00 0.00 0.00 0.00 0.00 0.00
11.50 0.00 0.00 0.00 0.00 0.00 0.00
129.90 1,50 0.00 0.00 0.00 0.00 1.50
216.80 1.50 0.00 0.00 0.00: 0.00 1.50
70/30 = 75/25=
Hours Objections Time - 50/50 Split 30% 25%
Claimed Originally Withdrawn Withdrawn: — of Certain Withdrawn Withdrawn
Hours In Dispute By Defendant By Plaintiff Hours By Plaintiff By Plaintiff
. 20.40 20.40 0.00 0.00. : 0.00 0.00 0.00
27.70 27.70 0.00 0:00 "0.00 0.00 0.00
48.10 48.10 0.00 0:00: 0.00 0,00 0.00
2175.70 374.65 60.00 33:60. 48.30 28.80 155.85

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Hours Remaining
In Dispute After

Meet and Confer

0.00
0.00
0.00
0.00
0.00
0.00
0.00
0:00
0.00
0.00
9.00

0.00

_ Hours Remaining

In Dispute After
Meet and Confer

0.00
0.00
0.00
0.00
0.00

0.00

Hours Remaining
In Dispute After

Meet and Confer
20.40

27,70
48.10

48.10

Undisputed
Hours

110.30
314.71
300.95
61.00
4.30
76.02
19.88
23.40
402.26
113.97

379.04

1805.82

Undisputed
Hours

3.10
4.70
67.60
11.50

129.53

216.43

Undisputed

Hours

2022.25

PARA HHHHH HW

PLRA
Rate

169.50
169.50
169.50
169.50
140.00
150.00
150.00
140.00
140.00
140.00
140.00

Rate

169.50
169.50
169.50

AAD HH

140.00

$ 169.50
$ 168.50

140.00

Fees Now
Owing

$ 18,695.85
$ 53,343.77
$ 51,011.03
$ 10,339.50
$ 602.00
$- ° 11,403.00
$ 2,981.25
$ 3,276.00
$ 56,316.40
$ 15,955.80
$

53,064.90

$ 276,989.49

Fees Now
Owing

$ 525.45
$ 796.65
$ 11,458.20
$ 1,610.00
$18,133.50
$

32,523.80

Fees Now

Owing

tA oA
Mog

$309,513.29

1/20/2006
Matter: 489-5

Attorney/Law Firm

ROSEN BIEN & ASARO
Michael W. Bien (MWB) .
Thomas Nolan (TN) °

Pamela Derrico (PD)

RBA Totals:

PRISON LAW OFFICE
Edie DeGraff (ED)

PLO Totals:

Total Fees - All Offices

Matter: 489-9

Attorney/Law Firm

ROSEN BIEN & ASARO
Kim Le (KTL)

RBA Totals: |

Total - All Offices

3rd Qtr-Undisputed Total Fees.xls

Coleman v. Schwarzenegger
Case 2:90-Cv-0058iiniKelyo AiG lisputha res Tftnd Dagery Ske Meme baGy 06
July 1, 2005 through September 30, 2005

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Fees Work
: Hours Objections Time 50/50 Split 70/30 Split 75/25 Split Hours Remaining
Claimed Originally Withdrawn Withdrawn of Certain of Certain of Certain _ In Dispute After Undisputed Fees Now
Hours In Dispute By Defendant By Plaintiff Hours Hours . Hours Meet and Confer Hours Rate Owing
0.20 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.20 $ 169.50 $ 33.90
9.70 0.00 0.00 0.00 0.00 0.00 0.00 0.00 9.70 $ 169.50 $ 1,644.15
63.60 1.70 0.00. 0.00 9.00 0.00 1.70 0.00 63.18 $ 175.00 $ 41,055.63
73.50 1.70 0.00 0.00 0.00 0.00 1.70 0.00 73.08 $ 12,733.68
2.40 9.00 0,00 0.00 0.00 0.00 9.00 0.00 240  $ 150.00 $ 360.00
2.40 0.00 0.00. 0.00 0.00 0.00 0.00 0.00 2.40 $ 360.00
75.90 1.70 0.00 0.00 0.00 0.00 1.70 0.00 75.48 $ 13,093.68
Classification Policies That Interfere With Access to Mental Healthcare Work
Hours Objections - Time 50/50 Split 70/30 Split 75/25 Split Hours Remaining
Claimed Originally Withdrawn Withdrawn of Certain of Certain of Certain — In Dispute After Undisputed. Fees Now
Hours In Dispute By Defendant By Plaintiff = Hours Hours Hours Meat and Confer Hours Rate Owing
1.80 1.80 0.00 0.00 9.00 9.00 0.00 1.80 0.00 $ 150.00 $ :
1.80 1.80 0.00 0.0 0.00 0.00 0.00 1.80 0.00 $ .
1.80 1.80 0.00 0.00 0.00 © 0.00 0.00 1.80 0.00 $ -
Amount Remaining in Dispute: $8,422.95
41/20/2006
Case 2:90-cv-00520-KJM-SCRioleRaruneenvatataadriled 02/10/06 Page 7 of 7

Summary Of Undisputed Costs - Third Quarterly Statement, 2005
July 1, 2005 through September 30, 2005

Matter: 489-3 (Monitoring)

‘Objections Objections 50/50
/ Claimed Defendant's Withdrawn Withdrawn Of Certain Undisputed
ROSEN, BIEN & ASARO Costs Objections By Defendants By Plaintiffs Costs Costs
Photocopying (in-house @.20) . $ 7,906.40 $ - 7,906.40 $ 7,906.40 $ - ' § - $ 7,906.40
Photocopying (outside services) $ 3,779.87 $ 3,779.87 $ 3,779.87 $ - $ - $ 3,779.87 ©
Arval Legal Services - Copy Docs $ 1,066.25 $ 1,066.25 $ 1,066.25 $ - $ - $ 1,066.25
Postage & Delivery $ 1,149.41 $ - $ - $ - $ - $ 1,149.41
Telephone $ 239.89 $ os $ - $ - $ - $ 239.89
Westlaw. $ 728.70 $ - $ - $ - $ - $ 728.70
Telefax $ 775.00 $ - $ - $ - $ - $ 775.00
Pacer (court) $ 27.28 $ Jos $ - $ - $ : $ 27.28
Travel $ 2,178.14 $ 1,648.38 $ = $ 1,001.91 $ 733.96 $ 839.13
RBA Totals: $ 17,850.94 $ 14,400.90 $ 12,752.52 $ 1,001.91 $ 733.96 $ 16,511.93
PRISON LAW OFFICE
Photocopying (in-house) $ 681.40 $ - $ - $ - $ - $ 681.40
Postage & Delivery $ 698.46 $ - $ - $ - $ - $ 698.46
Telefax $ 296.00 $ - $ - $ - $ - $ 296.00
Telephone $ 13.72 $ - $ - $ - $ - $ 13.72
Travel $ 317.19 $ . - $ : $ : $ - $ 317.19
Totals: $ 2,006.77 $ - $ - $ - $ - $ 2,006.77
Total Monitoring Costs: ‘$ 19,857.71 - $ 14,400.90 $ 12,752.52 $ 1,001.91 $ 733.96 $ 18,518.70
Matter: 489-5 (Monitoring Fees on Fees)
ROSEN, BIEN & ASARO
Photocopying (in-house @.20) $ 99.40 $ - $ - $ - $ - $ 99.40
Photocopying (outside service) $ . 456.35 $ - $ - $ - $ - $ 156.35
Postage & Delivery $ 49.49 $ - $ - $ - $ - 3 49.49
Pacer (court) / $° 0.24 $ - $ - $ - $ - $ 0.24
Telephone $ 15.25 $ - $ : $ > $_ : $ 15.25
Total Fees Costs: $ 320.73 . $ - $ - $ - $ - $ 320.73
TOTAL UNDISPUTED COSTS $

20,178.44 $ 14,400.90 $ 12,752.52 $ 1,001.91 $ 733.96 $ 18,839.43

Undisputed Costs oe 1st Quarter 2005 4/20/2006
